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           13
           14                          UNITED STATES DISTRICT COURT
           15                         CENTRAL DISTRICT OF CALIFORNIA
           16    MICHAEL TERPIN,                        Case No. 2:18-cv-06975-ODW-KS
           17                      Plaintiff,           DEFENDANT AT&T MOBILITY
           18                                           LLC’S REQUEST FOR JUDICIAL
                       v.                               NOTICE IN SUPPORT OF ITS
           19                                           MOTION TO DISMISS THE
                 AT&T MOBILITY LLC; and DOES 1-         COMPLAINT
           20    25,
                                   Defendants.          Action Filed: August 15, 2018
           21
           22                                           Hearing:
                                                        Date:    January 28, 2018
           23                                           Time:    1:30 p.m.
                                                        Place:   350 West 1st Street, 5th Floor
           24                                                    Courtroom 5D
                                                                 Los Angeles, CA 90012
           25                                           Judge:   Hon. Otis D. Wright II

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             1         Pursuant to Rule 201 of the Federal Rules of Evidence and in further support of
             2   Defendant AT&T Mobility LLC’s (“AT&T”) Motion to Dismiss the Complaint (the
             3   “Motion to Dismiss”), AT&T respectfully requests that the Court take judicial notice of
             4   a recent complaint filed by Plaintiff Michael Terpin in a separate action captioned
             5   Michael Terpin v. Nicholas Truglia, Case No. 18STCV09875, Los Angeles Superior
             6   Court (the “Truglia Complaint”). The Truglia Complaint is attached hereto as Exhibit
             7   1.
             8         Under Rule 201 of the Federal Rules of Evidence, the Court may take judicial
             9   notice of any fact “that is not subject to reasonable dispute because it: (1) is generally
           10    known within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
           11    determined from sources whose accuracy cannot reasonably be questioned.” Courts
           12    routinely take judicial notice of documents, including pleadings, filed in other
           13    courts. See Harris v. County of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012) (“We may
           14    take judicial notice of undisputed matters of public record, including documents on file
           15    in federal or state courts.”); United States ex rel. Robinson Rancheria Citizens Council
           16    v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992) (similar); HPG Corp. v. Countrywide
           17    Home Loans, 2010 WL 11549552, at *2 (C.D. Cal. Nov. 8, 2010) (similar).
           18          Here, AT&T requests judicial notice of the Truglia Complaint, which was filed in
           19    state court by Mr. Terpin on December 28, 2018, over one month after briefing on
           20    AT&T’s Motion to Dismiss was complete. As the Court is aware, Mr. Terpin’s claim
           21    against AT&T relates to two “SIM swaps” that he alleges caused him to lose $24 million
           22    in cryptocurrency. The Truglia Complaint alleges that Nicholas Truglia was responsible
           23    for the second of those SIM swaps, which Mr. Terpin alleges caused the vast majority
           24    of his alleged harm.
           25          In the Truglia Complaint, Mr. Terpin alleges, among other things, that Mr. Truglia
           26    and an unidentified group of individuals participated in an enterprise for purposes of
           27    Section 1962(c) of the Racketeer Influenced and Corrupt Organizations Act
           28    (“RICO”). The Truglia Complaint alleges that the purpose of the RICO enterprise was

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             1   to execute a scheme to defraud cryptocurrency investors like Mr. Terpin by acquiring
             2   control of their cryptocurrency and other accounts and illegally keeping those assets for
             3   their own benefit and interest. Ex. 1, ¶¶ 35-38. Mr. Terpin also alleges in the Truglia
             4   Complaint that this enterprise “obtained information about victims’ mobile phone
             5   accounts, including information about security codes and other personal information”
             6   and “then used such information, in combination with false identifications and
             7   information obtained through phishing or the Dark Web, to port over a victim’s
             8   telephone number to a phone under its control.” Id. ¶ 39. Mr. Terpin further alleges that
             9   Mr. Truglia and the enterprise stole $24,000,000 from Mr. Terpin after gaining access
           10    to his accounts after an alleged SIM swap on January 7, 2018, the same alleged SIM
           11    swap discussed in Mr. Terpin’s Complaint against AT&T in this action (“AT&T
           12    Complaint”). See id. ¶¶ 39, 43.
           13          AT&T’s Motion to Dismiss asserts that the AT&T Complaint fails to plausibly
           14    allege how AT&T’s allegedly inadequate security led to stolen cryptocurrency. The
           15    Truglia Complaint contains Mr. Terpin’s additional allegations about how the alleged
           16    theft occurred which: (i) are missing from his Complaint against AT&T and (ii) do not
           17    allege that AT&T is part of the criminal enterprise responsible for the theft. See id. ¶
           18    5. Indeed, the allegations of the Truglia Complaint further show that it was the bad
           19    actors (Mr. Truglia and company) that were the cause of Mr. Terpin’s loss, not AT&T.
           20    This Court may take judicial notice of these additional allegations about how Mr. Terpin
           21    contends the alleged theft of his claimed cryptocurrency occurred to evaluate the
           22    plausibility of Mr. Terpin’s pleading in this case. See Varma v. Bank of Am., N.A., 713
           23    Fed. Appx. 692, 692-93 (9th Cir. 2018) (“We are not required to accept as true
           24    allegations that contradict matter properly subject to judicial notice.”) (alterations
           25    omitted); Aventis Pharma S.A. v. Amphastar Pharms., Inc., 2009 WL 10674453, at *2
           26    (C.D. Cal. May 15, 2009) (relying on “matters subject to judicial notice” to “undermine
           27    any plausible inference” of proximate causation).
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             1         The Court may properly take judicial notice of the Truglia Complaint for these
             2   purposes. See, e.g., Lewis v. U.S. Bank Nat’l Ass’n, 2017 WL 2903192, at *2 n.3 (N.D.
             3   Cal. Apr. 5, 2017) (“The Court can take judicial notice of the existence of court
             4   documents, and the nature of the allegations set forth in Plaintiff’s prior complaints ....”);
             5   In re Smith, 2012 WL 1123049, at *2 (W.D. Tex. Apr. 3, 2012) (taking judicial notice
             6   of the fact that certain allegations were made against a party in separate litigation);
             7   United States v. Cohen, 2012 WL 505918, at *6 (C.D. Ill. Feb. 15, 2012) (court may
             8   take judicial notice of documents filed in other lawsuits to establish “the indisputable
             9   facts that those documents exist, they say what they say, and they have had legal
           10    consequences”) (citation omitted); In re FedEx Ground Package Sys., Inc. Employment
           11    Pracs. Litig., 2010 WL 1253891, at *4 (N.D. Ind. Mar. 29, 2010) (“Court documents
           12    from another case may be used to show that the document was filed, that party took a
           13    certain position, and that certain judicial findings, allegations or admissions were
           14    made.”) (citation omitted); cf. Warwick v. Bank of N.Y. Mellon, 2016 WL 2997166, at
           15    *12 (C.D. Cal. May 23, 2016) (taking judicial notice of recorded documents’ existence
           16    and the fact that they “state what they state”).
           17          Accordingly, AT&T respectfully requests that the Court take judicial notice of the
           18    Truglia Complaint.
           19
           20    Dated: January 22, 2019                  Respectfully submitted,
           21                                             GIBSON, DUNN & CRUTCHER LLP
           22
           23                                             By: /s/ Marcellus A. McRae
                                                              Marcellus A. McRae
           24
           25                                             Attorney for Defendant
                                                          AT&T MOBILITY LLC
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                            Exhibit 1
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